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                                                                                                     Anne Champion
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January 22, 2021

VIA U.S. MAIL AND ELECTRONIC MAIL

Paul M. Davis
8620 Hawthorne St
Frisco TX 75034

Re:       Your defamatory statements regarding Roger Sollenberger

Dear Mr. Davis:

I write on behalf of journalist Roger Sollenberger to demand that you immediately cease and
desist making defamatory statements regarding Mr. Sollenberger, and that you cease and
desist threatening him with baseless litigation.

In particular, on January 6, 2021, Mr. Sollenberger tweeted video from your own public
Instagram account demonstrating your participation in the violent insurgency at the U.S.
Capitol on January 6, 2021. You admitted this was your own video when, following this
tweet, on January 7, 2021, you claimed in a Facebook post that you were “Fired for
peacefully protesting at the US Capitol after someone selectively edited my Instagram story
and sent it to a radical left-wing journalist who selectively edited my Instagram story and
publicly defamed me on Twitter by making the categorically false statement that I was
‘staging a coup.’” To the extent your reference to “a radical left-wing journalist” refers to
Mr. Sollenberger, the post is false and defamatory in several respects. First, Mr. Sollenberger
is not a “radical, left wing journalist,” and second, he did not “selectively edit” your
Instagram story before tweeting it (or indeed, edit it at all). These statements in your
Facebook post are thus false and misleading and should be retracted.

As for your assertion that the statement that you were shown “staging a coup” was
“categorically false,” your presence at the U.S. Capitol, as documented in your own videos,
in which you can be seen in a crowd of rioters, demanding to “inspect ballots,” and “voting
machines,” and stating, “We are all trying to get into the Capitol to stop this,” on the day the
results of the 2020 Presidential election were being tabulated, speaks for itself. 1 Your own

 1
      Multiple analysts have described the events leading up to and culminating in the violent takeover of the
      U.S. Capitol on January 6, 2021 as an attempted coup. See, e.g., Christopher Ingraham, How experts define
      the deadly mob attack at the U.S. Capitol, Wash. Post (Jan. 13, 2021) (applying concept of “self coup,”
      “when a head of government . . . attempts to seize extraordinary control over that government from
      within,” to President Trump’s repudiation of the election results, culminating in the siege of the U.S.
      Capitol); Insurrection? Coup? Words matter in describing the siege on the US Capitol, AP (Jan. 15, 2021)
      (describing various concepts from protest to riot to attempted coup that could be applied to the siege of the
                                                                                        (Cont’d on next page)
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 January 22, 2021
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 video, which you posted to Instagram, has a caption stating, “You don’t hide the evidence
 unless you’re guilty. Pretty simple. We will not let this go.” 2 Additional video you posted
 to your public Instagram shows you among a group of individuals being physically repelled
 away from the U.S. Capitol by law enforcement officers in riot gear, whom you claimed in
 captions had “tear gassed us and pushed us down the stairs,” and admitted “[i]t did get a little
 rowdy when they pushed us down the stairs. That was a flash bang that blew up next to
 me.”

 In your Facebook post, you further blame the loss of your job on this unnamed “radical left-
 wing journalist.” It is more than apparent that whatever harm you claim to have suffered was
 not the result of action taken by any journalist, but the result of your own decision to
 participate in the violent insurgency at the U.S. Capitol on January 6, 2021. Truthful
 reporting on matters of public interest is never defamatory. See, e.g., New York Times v.
 Sullivan, 376 U.S. 254, 271 (1964). Your former employer also acknowledged in an internal
 email that they had conducted an investigation into the situation before they fired you.

 Accordingly, to the extent your statement that you are “very much looking forward to
 clearing my name and being made whole by all persons who publicly defamed me in this
 manner” is meant as a threat of litigation against Mr. Sollenberger, please be aware that this
 threat is without any merit whatsoever and that Mr. Sollenberger will defend himself to the
 fullest extent of the law. Mr. Sollenberger reserves all rights.

 Very truly yours,

 /s/Anne Champion
 Anne Champion



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       U.S. Capitol); Fiona Hill, Yes, It Was a Coup Attempt. Here’s Why, Politico Magazine (Jan. 11, 2021)
       (explaining why the events leading up to and including the January 6, 2021 siege of the U.S. Capitol were
       an attempted coup).
   2
       And indeed, you have not let it go. On January 18, 2021, you filed a suit on behalf of numerous pro-Trump
       plaintiffs against all members of Congress, Mark Zuckerberg, Brad Raffensperger and others, asking the
       court “to order the 50 states to conduct a new federal election.” Latinos for Trump v. Sessions, 21-CV-
       00043-ADA-JCM, Original Complaint and Application for Injunctive Relief, Dkt. 1 ¶ 4 (W.D. Tex.).
